     Case 2:13-cv-05525-MWF-CW Document 62 Filed 08/04/14 Page 1 of 2 Page ID #:447




 1 Robert F. Brennan, Esq. [S.B. #132449]
   Law Offices of Robert F. Brennan, APC                                                  JS-6
 2 3150 Montrose Ave.
   La Crescenta, CA 91214
 3 Tel. (818) 249-5291
 4 Fax: (818) 249-4329
 5 Attorney for Plaintiff
   Porshia Jones
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    PORSHIA JONES,                          ) Case No. 2:13-cv-05525 MWF (CWx)
                                              )
12                 Plaintiff,                 ) Hon. Michael W. Fitzgerald
                                              )
13    v.                                      )
                                              ) ORDER OF DISMISSAL WITH
14
      CORELOGIC CREDCO, LLC, DOES ) PREJUDICE OF DEFENDANT
      2-10 inclusive, GLOBAL                  ) EXPERIAN INFORMATION
15                                            ) SOLUTIONS, INC., AND OF THE
      MOTORCARS OF HOUSTON,
      TRANSUNION, LLC, EXPERIAN               ) ENTIRE CASE WITH PREJUDICE
16
      INFORMATION SOLUTIONS, INC. )
      and SKY RECOVERY SERVICES,              )
17                                            )
                   Defendants.                )
18                                            )
                                              )
19                                            )
                                              )
20                                            )
                                              )
21                                            )_
22          Plaintiff Porshia Jones has announced to the Court that all matters in
23    controversy against Defendant Experian Information Solutions, Inc.,
24    (“EXPERIAN”) have been resolved.
25          A Stipulation of Dismissal with Prejudice has been signed and filed with the
26    Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
27    makes and delivers the following ruling:
28
                                                     1
                       ORDER re: Stipulation of Dismissal With Prejudice of Entire Case
     Case 2:13-cv-05525-MWF-CW Document 62 Filed 08/04/14 Page 2 of 2 Page ID #:448




 1          IT IS ORDERED that the claims and causes of action asserted herein by

 2    Plaintiff Porshia Jones against Defendant Experian are in all respects dismissed
 3    with prejudice; and, since there are no remaining defendants, that the entire case be
 4    dismissed with prejudice.
 5
 6    DATED this 4th day of August 2014.
 7
 8
 9                                                 __________________________
10                                                 MICHAEL W. FITZGERALD
11                                                 UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                      2
                        ORDER re: Stipulation of Dismissal With Prejudice of Entire Case
